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IN THE UNITED STATES DISTRICT COURT
FOR THE
NORTHERN DISTRICT OF ILLINOIS

Tommy Hilfiger Licensing LLC et al,
Plaintiff(s),

Case No. 21 C 2689
Vv, Judge Gary Feinerman

The Partnerships and Unincorporated Associations
Identified on Schedule "A",

 

Defendant(s).
JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):
[] _ in favor of plaintiff(s)
and against defendant(s)

in the amount of $ ,

which [_] includes pre—judgment interest.
[_] does not include pre—judgment interest.

Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

Plaintiff(s) shall recover costs from defendant(s).

 

C in favor of defendant(s)
and against plaintiff(s)

Defendant(s) shall recover costs from plaintiff(s).

 

[X] other: : Judgment is entered in favor of Plaintiff Tommy Hilfiger Licensing LLC et al and
against Defendants calvinkleinoutletonline.com, et al. in the amount of $200,000.00 per Defendant. Injunctive
relief issues as well.

 

This action was (check one):

[_] tried by a jury with Judge _ presiding, and the jury has rendered a verdict.

[_] tried by Judge —_ without a jury and the above decision was reached.

decided by Judge Gary Feinerman on a motion.

Date: 9/30/2021 Thomas G. Bruton, Clerk of Court

/s/ Jackie Deanes , Deputy Clerk
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
CALVIN KLEIN TRADEMARK TRUST and Case No. 21-cv-02689
CALVIN KLEIN, INC.,

Judge Gary Feinerman
Plaintiffs, Beurny

Magistrate Judge Maria Valdez

CALVINKLEINOUTLETONLINE.COM, et
al.,

Defendants.

 

 

FINAL JUDGMENT ORDER

This action having been commenced by Plaintiffs Tommy Hilfiger Licensing LLC,
Calvin Klein Trademark Trust and Calvin Klein, Inc. (collectively, ‘‘Plaintiffs”) against the fully
interactive e-commerce stores' operating under the seller aliases identified on Schedule A
attached hereto (collectively, the “Seller Aliases”), and Plaintiffs having moved for entry of
Default and Default Judgment against the Seller Aliases (collectively, the ‘“Defaulting
Defendants”);

This Court having entered upon a showing by Plaintiffs a temporary restraining order and
preliminary injunction against Defaulting Defendants which included a domain name transfer
order and asset restraining order;

Plaintiffs having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication or e-mail, along with any notice that

 

' The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces and Domain
Names.
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Defaulting Defendants received from domain name registrars and payment processors, being
notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the
pendency of the action and affording them the opportunity to answer and present their
objections; and

Defaulting Defendants having failed to answer the Complaint or otherwise plead, and the
time for answering the Complaint having expired;

THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting
Defendants since Defaulting Defendants directly target their business activities toward
consumers in the United States, including Illinois. Specifically, Defaulting Defendants have
targeted sales to Illinois residents by setting up and operating e-commerce stores that target
United States consumers using one or more Seller Aliases, offer shipping to the United States,
including Illinois, accept payment in U.S. dollars, and have sold products using infringing and
counterfeit versions of Plaintiffs’ federally registered trademarks (“Plaintiffs’ Trademarks”) to

residents of Illinois. A list of Plaintiffs’ Trademarks is included in the below chart.

 

Registration No. Trademark Goods and Services

 

For: clothing for men and women:
namely, shirts, pants, jackets,

sweaters, shorts, belts, vests, sport
1,398,612 TOMMY HILFIGER jackets, coats, rain coats, parkas in
class 025.

 

 

For: clothing for men, namely,
shirts, sweaters, pants, sweatshirts,
shorts, sport jackets, parkas,

1,738,410 TOMMY HILFIGER bathing suits, vests in class 025.

For: retail clothing store services in
class 042.

 

 

 

 
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1,833,391

TOMMY HILFIGER

For: ties, socks, suspenders, hats,
caps, suits and blazers in class 025.

 

1,995,802

TOMMY HILFIGER

For: deodorants and soaps for
personal use in class 003.

For: articles of leather and
imitation leather, namely,
wallets, credit card cases,
billfolds, umbrellas and travelling
bags in class 018.

For: bathrobes, tuxedos, pajamas,
underpants and undershirts in class
025.

 

2,103,148

TOMMY HILFIGER

For: eyewear, namely, eyeglasses,
sunglasses and eyeglass frames and
lenses and eyewear accessories,
namely, cases and holders in class
009.

 

2,162,940

TOMMY HILFIGER

For: jewelry made of precious and
non-precious metals and stones,
namely, cuff- links, and bracelets
in class 014.

For: footwear, namely, shoes, boots,
sneakers, sandals and slippers in class
025.

 

2,485,457

TOMMY HILFIGER

For: jewelry, namely, necklaces,
and rings in class 014.

For: pillows in class 020.

 

2,617,339

TOMMY HILFIGER

For: watches in class 014.

 

 

2,389,024

 

TOMMY

 

For: clothing for men, women and
children, namely, t-shirts,
sweatshirts, sweaters, jackets,
coats, jeans, and caps in class 025.

 

 
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2,475,142

TOMMY

For: full line of apparel and
headwear in class 025.

 

2,772,857

TOMMY

For: handbags in class 018.

 

3,164,348

HILFIGER

For: clothing, namely, shirts, t-shirts,
sweatshirts, sweaters, shorts,
sweatpants, blazers, pants, jeans,
suits, vests, jackets, coats, parkas,
ponchos, swimwear, swim trunks,
rainwear, wind resistant jackets,
underwear, belts, hats, caps, scarves,
boxer shorts, shoes, boots, sneakers,
sandals, and gloves in class 025.

 

2,899,046

HILFIGER DENIM

For: clothing, namely, shirts, t-
shirts, sweatshirts, tank tops,
sweaters, turtle-necks, shorts,
sweatpants, blazers, pants, jeans,
skirts, suits, overalls, dresses,
vests, jackets, coats, parkas,
ponchos, swimwear, bikinis, swim
trunks, overcoats, belts, hats, wool
hats, caps, scarves, and gloves in
class 025.

 

2,563,735

TH

For: Jewelry and watches in class
014.

 

2,612,455

TH

For: full line of apparel in class 025.

 

2,697,281

TH

For: Full line of handbags,
backpacks, and cosmetic bags sold
empty in class 018.

 

3,084,022

For: Eyeglasses, sunglasses and
frames for eyeglasses in class 009.

 

 

1,460,988

 

 

 

For: clothing for men and women,
namely, shirts, pants, jackets,
sweaters, shorts, belts, vests, sport
jackets, coats, rain coats, parkas in
class 025.

 

 
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1,727,740

 

 

For: clothing for men namely, shirts,
sweaters, sportcoats, pants,
sweatshirts, shorts, sport jackets,
raincoats, parkas, overcoats, bathing
suits, vests, turtlenecks; clothing for
boys, namely, shirts, sweaters,
sportcoats, pants, sweatshirts,
shorts, sport jackets, parkas, bathing
suits, vests in class 025,

For: retail clothing store services in
class 042.

 

1,808,520

 

For: socks, ties, hats, caps and
blazers in class 025.

 

2,030,406

 

For: cologne, eau de toilette,
shaving lotion, deodorant and
soap for personal use in 003.

For: articles of leather and
imitation leather, namely wallets,
credit card cases, billfolds,
umbrellas and travelling bags in
class 018.

For: bathrobes, tuxedos, pajamas,
underpants, undershirts and
suspenders in class 025.

 

2,213,511

 

For: footwear, namely, shoes, boots,
sneakers, sandals and slippers in
class 025.

 

2,063,504

 

For: eyewear, namely, eyeglasses,
sunglasses and eyeglass frames and
lenses and eyewear accessories,
namely, cases and holders in class
009.

 

 

4,745,262

 

TOMMY QBHILFIGER

 

For: soaps; perfumery; colognes;
toilet water; perfumes, fragrances

 

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for personal use; lotions for skin
care; antiperspirants; deodorants
for personal use in 003.

For: optical goods, namely,
spectacles, spectacle glasses,
sunglasses, eyeglass cases and
sunglasses cases, carrying cases
and holders for portable
computers and mobile phones,
magnetic coded cards, namely,
gift cards in class 009.

For: jewelry, namely, bracelets,
necklaces, rings, earrings,
cufflinks, horological and
chronometric instruments,
namely, watches, wrist watches,
straps for wrist watches in class
014.

For: all purpose sports bags and
athletic bags; overnight bags;
book bags; tote bags; travelling
bags; backpacks; handbags;
luggage; suitcases; purses;
briefcases; travel bags; duffel
bags and beach bags, school bags;
garment bags for travel; overnight
cases, clutch bags; travel kit bags
sold empty; suitcases with wheels
attached; billfolds; wallets,
pocket wallets, change purses,
coin purses, credit card cases of
leather; leather credit card
wallets; name card cases;
cosmetic cases sold empty;
leather cases for cosmetics sold
empty; umbrellas in class 018.

For: fabrics and textile goods, namely,
household linen, bed linen, bath linen,
bed sheets, pillow shams, pillow cases,
bed blankets, comforters, quilts,
bedspreads, bed covers, duvet covers,
duvets, dust ruffles, mattress covers,

 

 

 

 
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towels, bath towels, beach towels, face
cloths, shower curtains, handkerchiefs
in class 024.

For: clothing for men, women and
children and infants, namely, shirts,
golf shirts, t-shirts, polo shirts, knit
tops, woven tops, sweatshirts, tank
tops, sweaters, blouses, jerseys,
turtlenecks, shorts, sweatpants, warm-
up suits, blazers, sport coats, trousers,
jeans, skirts, dresses, suits, overalls,
jumpers, vests, jackets, coats,
raincoats, parkas, ponchos, swimwear,
bikinis, swim trunks, overcoats,
rainwear, wind resistant jackets,
sleepwear, pajamas, bathrobes,
underwear, lingerie, boxer shorts,
belts made of leather, ties; headgear,
namely, hats, wool hats, caps, visors,
headbands, ear muffs; scarves, shawls,
cloth bibs; footwear, gym shoes,
sneakers, socks, hosiery, shoes, boots,
beach shoes, sandals, slippers, gloves,
suspenders; layettes in class 025.

For: retail department store
services, online retail department
store services, online retail outlet
services featuring perfumery,
cosmetics, clothing, footwear,
headgear, textile goods, goods
made of leather or imitation of
leather, bags, eyewear, jewellery,
watches and horological and
chronometric instruments,
household accessories, and home
items in class 035.

 

 

3,264,718

 

 

For: clothing for men, women and
children, namely, shirts, golf shirts, T-
shirts, sweatshirts, tank tops,
sweaters, jeans, vests, jackets, coats,
parkas, underwear, scarves in class
025.

 

 
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3,264,715

For: handbags in class 018.

 

1,993,879

CALVIN KLEIN

For: watches and jewelry in class 014.

 

1,418,226

CALVIN KLEIN

For: eyeglass frames and sunglasses
in class 009.

 

2,069,292

CK CALVIN KLEIN JEANS

For: women's, men's, boys and girls
wearing apparel, namely, shirts, T-
shirts, tank tops, blouses, jackets,
sport coats, pants, dresses, shorts,
walking shorts, skirts, jeans, gloves,
suits, blazers, clothing belts, socks,
tights, hats; outerwear, namely,
jackets, coats, vests, sweaters,
shearling, shearling jackets, rain
wear, rain coats, capes, ponchos,
warm-up suits, scarves, shawls, and
clothing ties in class 025.

For: advertising agencies and
developing promotional campaigns
for businesses in class 035.

For: design services for others in the
field of clothing and retail boutique
store services in class 042.

 

2,314,144

CK

For: jewelry and watches in class 014.

 

 

1,932,699

 

Calvin Klein

 

For: briefs, boxer shorts, athletic
shirts and bottoms, t-shirts and tank
tops, undershirts, underpants and
undershirts, robes, knitted and woven
sleepwear, namely sleep shirts,
pajama tops, pajama bottoms,
smoking jackets, knitted and woven
loungewear, including lounging pants
and tops, and lounge jackets in class
025.

 

 
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1,819,048

Calvin Klein

For: men’s wearing apparel; namely,
suits, sports jackets; blazers, dinner
jackets, pants, jeans, outer coats,
raincoats, shirts, vests, sweaters, ties,
belts; women’s wearing apparel;
namely, jeans, and gloves; children’s
wearing apparel; namely, dresses,
skirts, jeans and shirts in class 025.

 

1,633,261

Calvin Klein

For: men’s and boys’ underwear and
men’s and boys’ shorts; women’s and
girls’ underwear (including brassieres
and underpants); women’s
nightgowns in class 025.

 

1,604,663

Calvin Klein

For: women’s handbags, wallets,
billfolds, french purses, briefcase type
leather portfolios and briefcase type
leather organizer, key case, key fobs,
change purses, luggage, vanity cases,
overnight cases, duffle bags, suit
bags, tote bags, trunks, briefcases,
attaché cases and suit cases in class
018.

 

2,483,764

For: eyeglass frames, sunglasses in
class 009.

For: clothing caps and hats in class
025.

For: advertising agencies and
developing promotional campaigns
for businesses in class 035.

For design for others in the field of
clothing and retail clothing boutiques
in class 042.

 

 

2,454,886

 

 

For: eyeglass frames, sunglasses in
class 009.

For: watches and clocks in class 014.

For: clothing, footwear and headwear
for women, men, boys and girls,
namely, jump suits, shirts, blouses,
jackets, bathing suits, pants, belts,

 

 
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shorts, warm-up suits, sweatpants and
sweatshirts, walking shorts, jeans,
knitted tops, stockings, tights, hats,
caps, coats, outer coats, sweater,
skirts, coats, t-shirts, beach and
swimming cover-ups, tank tops,
camisoles; tennis and golf apparel,
namely, dresses, tops, skirts, pants,
and shorts; footwear, namely, shoes,
active sport shoes, sneakers, boots,
slippers; blazers, pants, socks in class
025.

For: advertising agencies and
developing promotional campaigns
for businesses in class 035.

For: design for others in the field of
clothing and retail clothing boutiques
in class 042.

 

2,080,100

For: women’s, men’s, boys and girls
wearing apparel, namely, shirts, t-
shirts, jump suits, tank tops, blouses,
jackets, bathing suits, beach and
swimming cover-ups, pants, dresses,
shorts, walking shorts, skirts, jeans,
gloves, sports jackets, blazers, belts,
socks, stockings, tights, hats,
outerwear, namely jackets, coats,
sweaters, rainwear, raincoats, capes,
ponchos, shoes, boots, slippers, tennis
and golf dresses, tennis and golf
shorts, warm-up suits, scarves, shawls
in class 025.

 

 

2,076,377

 

 

For: handbags, wallets, key cases,
change purses, cosmetic bags and
pouches sold empty, briefcase-type
portfolios, suit bags, trunks for
traveling, suitcases, umbrellas,
billfolds, duffle bags, tote bags,
briefcases and attaché cases, luggage,
overnight cases, toilet kits sold
empty, credit card holders, business
card holders, eyeglass cases made

 

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from leather or imitation thereof in
class 018.

 

2,074,471

For: men’s underwear, sleepwear and
loungewear products, namely briefs,
boxer shorts, athletic shirts and
bottoms, t-shirts and tank tops,
undershirts, underpants and
undershirts, robes, knitted and woven
sleepwear, namely sleep shirts,
pajama tops, pajama bottoms,
breakfast jackets, smoking jackets,
bed jackets and cover-ups, knitted
and woven loungewear, including
lounging pants and tops, and lounge
jackets; boy’s underwear, namely
briefs and boxer shorts in class 025.

 

 

2,064,064

 

 

For: women’s and girl’s intimate
apparel, sleepwear and loungewear,
bodywear, namely foundations, bras,
girdles, garter belts, one piece bra and
girdle, corselettes, body stockings,
control briefs, control hipsters,
control bikinis, bra slips, bra top
camisoles, waist cinchers, bustiers,
merry widows, camisettes, leotards
and unitards, daywear, namely
culottes, bikinis, hipsters, briefs, slips,
blouse-slips, camisole-slips, chemise
slips, culotte slips, evening slips,
maternity slips, panty slips, princess
slips, shadow panel slips, strapless
slips, suite slips, tailored slips, half-
slips, petti-slips, bra-slips, chemises,
teddies, camisoles, bra top camisoles,
bralettes, tap pants and petti-pants,
daywear, loungewear, sleepwear and
bodywear, namely nightgowns, toga
nightgowns, night shirts, pajamas,
shortie pajamas, baby doll pajamas,
T-shirt pajamas, French maid
sleepers, harem pajamas, hostess
culottes, lounging pajamas, rompers,
sleep shorts, peignoirs, bed jackets,
caftans, jumpsuits, teddies, bathrobes,

 

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dressing gowns, kimonos, housecoats,
beach togas, beach wrap-ups,
breakfast coats, brunch coats, hooded
bathrobes, dusters, hostess robes,
kabuki robes, lounging robes and
monk’s robes, bra tops, crop tops and
leggings, excluding women’s hosiery
in class 025.

 

2,192,526

lein

For: watches, excluding (14k and 18k
gold jewelry) in class 014.

 

2,144,299

lein

For: eyeglass frames and sunglasses
in class 009.

 

2,142,329

lein

For: handbags, wallets, keycases,
change purses, cosmetic cases sold
empty, briefcase-type portfolios, suit
bags, luggage trunks, suitcases,
umbrellas, billfolds, duffelbags,
totebags, briefcases and attaché cases,
luggage and overnight cases in class
018.

 

1,951,987

lein

For: handbags, wallets, key cases,
change purses, cosmetic bags and
pouches sold empty, briefcase-type
portfolios, suit bags trunks for
traveling, suitcases, umbrellas,
billfolds, duffle bags, tote bags,
briefcases and attaché cases, luggage,
overnight cases in class 018.

 

 

1,810,850

 

lein

 

For: women’s, men’s, boys and girls
wearing apparel; namely, shirts,
blouses, jackets, bathing suits, beach
and swimming cover-ups, pants,
dresses, shorts, skirts, jeans, gloves,
suits, sports jackets, belts, socks,
underwear, stockings, tights, hats,
outerwear; namely, coats and vests,
sweaters, T-shirts, rainwear,

 

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raincoats, tank tops, shoes, boots,
slippers, blazers, bras, nightgowns,
robes, scarves and shawls in class
025.

 

 

 

THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful
federal trademark infringement and counterfeiting (15 U.S.C. § 1114) and false designation of
origin (15 U.S.C. § 1125(a)).

IT IS HEREBY ORDERED that Plaintiffs’ Motion for Entry of Default and Default
Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and
that this Final Judgment is entered against Defaulting Defendants.

IT IS FURTHER ORDERED that:

1, Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,
confederates, and all persons acting for, with, by, through, under or in active concert with
them be permanently enjoined and restrained from:

a. using Plaintiffs’ Trademarks or any reproductions, counterfeit copies or colorable
imitations thereof in any manner in connection with the distribution, marketing,
advertising, offering for sale, or sale of any product that is not a genuine Plaintiffs’
product or not authorized by Plaintiffs to be sold in connection with Plaintiffs’
Trademarks;

b. passing off, inducing, or enabling others to sell or pass off any product as a genuine
Plaintiffs’ product or any other product produced by Plaintiffs, that is not Plaintiffs’
or not produced under the authorization, control or supervision of Plaintiffs and

approved by Plaintiffs for sale under Plaintiffs’ Trademarks;

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c. committing any acts calculated to cause consumers to believe that Defaulting
Defendants’ products are those sold under the authorization, control or supervision of
Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill; and

e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise
moving, storing, distributing, returning, or otherwise disposing of, in any manner,
products or inventory not manufactured by or for Plaintiffs, nor authorized by
Plaintiffs to be sold or offered for sale, and which bear any of Plaintiffs’ trademarks,
including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies or
colorable imitations thereof.

The domain name registries for the Domain Names, including, but not limited to,

VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

Interest Registry, within ten (10) business days of receipt of this Order, shall, at

Plaintiffs’ choosing:

a. transfer the Domain Names to Plaintiffs’ control, including unlocking and changing
the registrar of record for the Domain Names to a registrar of Plaintiffs’ selection; or

b. disable the Domain Names and make them inactive and untransferable.

The domain name registrars, including, but not limited to, GoDaddy Operating Company,

LLC (“GoDaddy”), Name.com, PDR LTD. d/b/a PublicDomainRegistry.com (“PDR”),

and Namecheap Inc. (“Namecheap”), within ten (10) business days of receipt of this

Order, shall take any steps necessary to transfer the Domain Names to a registrar account

of Plaintiffs’ selection.

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Upon Plaintiffs’ request, any third party with actual notice of this Order who is providing
services for any of the Defaulting Defendants, or in connection with any of Defaulting
Defendants’ Online Marketplaces and Domain Names, including, without limitation, any
online marketplace platforms such as eBay Inc. (“eBay”), AliExpress, Alibaba Group
Holding Ltd. (“Alibaba”), Amazon.com, Inc. (“Amazon”), ContextLogic Inc. d/b/a
Wish.com (“Wish.com”), and Dhgate, (collectively, the “Third Party Providers”) shall,
within ten (10) business days after receipt of such notice, disable and cease displaying
any advertisements used by or associated with Defaulting Defendants in connection with
the sale of counterfeit and infringing goods using the Plaintiffs’ Trademarks.

Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiffs are awarded statutory damages from each
of the Defaulting Defendants in the amount of two hundred thousand dollars ($200,000)
for willful use of counterfeit Plaintiffs’ Trademarks on products sold through at least
Defaulting Defendants’ Online Marketplaces and Domain Names. The two hundred
thousand dollar ($200,000) award shall apply to each distinct Defaulting Defendant only
once, even if they are listed under multiple different aliases in Schedule A.

Plaintiffs may serve this Order on Third Party Providers, including PayPal, Inc.
(“PayPal”), Alipay, Alibaba, Ant Financial Services Group (“Ant Financial”), Wish.com,
and Amazon Pay, by e-mail delivery to the e-mail addresses Plaintiffs used to serve the
Temporary Restraining Order on the Third Party Providers.

Any Third Party Providers holding funds for Defaulting Defendants, including PayPal,
Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay, shall, within ten (10)
business days of receipt of this Order, permanently restrain and enjoin any financial

accounts connected to Defaulting Defendants’ Seller Aliases, Online Marketplaces, or

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Domain Names from transferring or disposing of any funds, up to the above identified

statutory damages award, or other of Defaulting Defendants’ assets.

All monies, up to the above identified statutory damages award, in Defaulting

Defendants’ financial accounts, including monies held by Third Party Providers such as

PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay, are hereby released

to Plaintiffs as partial payment of the above-identified damages, and Third Party

Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon

Pay, are ordered to release to Plaintiffs the amounts from Defaulting Defendants’

financial accounts within ten (10) business days of receipt of this Order.

Until Plaintiffs have recovered full payment of monies owed to them by any Defaulting

Defendant, Plaintiffs shall have the ongoing authority to serve this Order on Third Party

Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon

Pay, in the event that any new financial accounts controlled or operated by Defaulting

Defendants are identified. Upon receipt of this Order, Third Party Providers, including

PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay, shall within ten

(10) business days:

a. locate all accounts and funds connected to Defaulting Defendants’ Seller Aliases,
Online Marketplaces and Domain Names, including, but not limited to, any financial
accounts connected to the information listed in Schedule A hereto, the e-mail
addresses identified in Exhibits 2 and 3 to the Declaration of Alastair Gray, Exhibits 5
and 6 to the Declaration of Dawn Buonocore-Atlas, and any e-mail addresses

provided for Defaulting Defendants by third parties;

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b. restrain and enjoin such accounts or funds from transferring or disposing of any
money or other of Defaulting Defendants’ assets; and

c. release all monies, up to the above identified statutory damages award, restrained in
Defaulting Defendants’ financial accounts to Plaintiffs as partial payment of the
above-identified damages within ten (10) business days of receipt of this Order.

10. ‘In the event that Plaintiffs identify any additional online marketplace accounts, domain
names or financial accounts owned by Defaulting Defendants, Plaintiffs may send notice
of any supplemental proceeding to Defaulting Defendants by e-mail at the e-mail
addresses identified in Exhibits 2 and 3 to the Declaration of Alastair Gray, Exhibits 5
and 6 to the Declaration of Dawn Buonocore-Atlas and any e-mail addresses provided for
Defaulting Defendants by third parties.

11. The ten thousand dollar ($10,000.00) surety bond posted by Plaintiffs is hereby released
to Plaintiffs or their counsel, Greer, Burns & Crain, Ltd. The Clerk of the Court is
directed to return the surety bond previously deposited with the Clerk of the Court to

Plaintiffs or their counsel.

This is a Final Judgment. .
DATED: September 30——, 2021 eh —

Gary Feinerman
United States District Judge

 

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Tommy Hilfiger Licensing LLC, et al. v. CALVINKLEINOUTLETONLINE.COM, et al. - Case No. 21-cv-

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02689
Schedule A
No. | Seller Aliases No. | Seller Aliases
1 | calvinkleinoutletonline.com 2 | tommyhilfigeraustralia.com
3 | tommyhilfigerindia.com 4 | tommyhilfigersingapore.com
5 | tommyhilfigermalaysia.com 6 | tommyhilfigermexico.com
7 | tommyhilfigerromania.com 8 | tommyhilfigerireland.com
9 | Cottonarts Store 10 | Decoratu Store
11 | Design By SP Store 12 | Doitbest Official Store
13 | DISMISSED 14 | DISMISSED
15 | Global TYBURN Store 16 | ocohmy Store
17 | Rev. Yang 15688 Store 18 | SHEINSimplee Dropshipping Store
19 | Shop910562247 Store 20 | Shop910732089 Store
21 | Shop910962023 Store 22 | Shop911066222 Store
23 | Shop911252155 Store 24 | Shop911382235 Store
25 | Shop911457076 Store 26 | Shop911509235 Store
27 | Shop911599524 Store 28 | Shop911609350 Store
29 | DISMISSED 30 | Song World Store
31 | Voge Store 32 | Welcome to shopping 123 Store
33 | @58588 Store 34 | 1011342559 Store
35 | 1375157685 Store 36 | 19191919 Store
37 | 267149 Store 38 | 328 Discount Store
39 | 394354507 Store 40 | 566665 Store
41 | 566665656 Store 42 | 788 Store
43 | 823xiaoman Store 44 | 9527888 Store
4S | 96 Store 46 | A_tongyun Store
47 | A111888 Store 48 | A888z Store
49 | aadfzzzz1546 Store 50 | ahgffUYTT1516793 Store
51 | ANPUDUSEN Official Store 52 | Asiqi Store
53 | Atongyun Store 54 | Bo yue Store
55 | Call out Store 56 | Casual men's tribal store Store
57 | CENZHI Watches Store 58 | Chinese-English Store
59 | chuyuanxuan Store 60 | DAFI-II Store
61 | Dandanxiacdian Store 62 | dazhuang Store
63 | DropShipping Minzhe WHNB Store 64 | dsd Store
65 | Friendship-h Store 66 | Georgia Store
67 | GGBD Store 68 | DISMISSED

 

 

 

 

 

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No. | Seller Aliases No. | Seller Aliases

69 | gogoshopping Store 70 | guizunvxie Store

71 | Harvest Men's Store 72 | hefuqiang Store

73 | HOTS Al KE Store 74 | HUANGLIN Store

75 | hufang Store 76 | import Store

77 | jiangnan Store 78 | jiaojiaodian Store

79 | jinouxiang Store 80 | Jin-zhi-xiao-huang-bao Store

81 | KAFTLN Watches Store 82 | ke te Store

83 | Lanfoo apparel Store 84 | leftatrium Store

85 | Lemono Store 86 | 111234566 Store

87 | LISI123456 Store 88 | lisijiazu0428 Store

89 | Loer Room Store 90 | 1s0030514 Store

91 | Men's fitness Store 92 | Men's short-sleeved wardrobe Store

93 | Mr. Zhou Store 94 | Ms. Fu shop Store

95 | MUZLY Store 96 | Nannan store Store

97 | OY good friend Store 98 | package6days Store

99 | Phone Cases XMZHC Store 100 | pipipipipi Store
101 | Rectify Store 102 | rehuo Store
103 | Robot man Store 104 | S686 Store
105 | SHANGSHAN Franchise Store 106 | Shoes-888 Store
107 | Shop5015155 Store 108 | Shop5031152 Store
109 | Shop5278036 Store 110 | Shop5890596 Store
111 | Shop732274 Store 112 | Shop900250101 Store
113 | Shop911037118 Store 114 | Shop$11185216 Store
115 | Shop911331025 Store 116 | Shop911337019 Store
117 | Shop911338149 Store 118 | Shop911340097 Store
119 | Shop911389143 Store 120 | Shop911398046 Store
121 | Shop911411036 Store 122 | Shop911411338 Store
123 | Shop911411472 Store 124 | Shop911420412 Store
125 | Shop911424451 Store 126 | Shop911426373 Store
127 | Shop911552080 Store 128 | Shop911562164 Store
129 | Shop911566234 Store 130 | Shop911566366 Store
131 | Shop911572289 Store 132 | Shop911575278 Store
133 | Shop911599337 Store 134 | Shop911602329 Store
135 | Shop911604057 Store 136 | Shop911604266 Store
137 | Shop911604333 Store 138 | Shop911606560 Store
139 ; Shop911609049 Store 140 | Shop911614472 Store
141 | shunhua2021030802 Store 142 | Specialty store356 Store
143 | Splus Store 144 | sqyt65546817 Store
145 | su123456 Store 146 | Those years 888 Store
147 | TMUUM Store 148 | Tommys Jeans Store

 

 

 

 

 

19

 
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No. | Seller Aliases No. | Seller Aliases
149 | Trendy good Store 150 | Trendy High street 4 Store
151 | TX SIX NINE Store 152 | DISMISSED
153 | welcome1231 Store 154 | Wuji Store
155 | xiao fan Store 156 | Xin Hui GZ Garment Co Ltd Store
157 | Xinxin Apparel Store 158 | xl store 8548321 Store
159 | YANG MING Store 160 | yayaya Store
161 | Yi Dian Store Store 162 | Yi'sofficial Store
163 | yichengmaoyiyoux Store 164 | YIYI Swimwear Store
165 | YM good friend Store 166 } yourandme Store
167 | Youzhao Apparel Store 168 | Yovoner Store
169 | Yuli Apparel Store 170 | YY 54 Phone Cases Store
171 | ZD Store 172 | zhanmimi Store
173 | Zhongyiyu Store 174 | Zhou Dropshipping Store
175 | ZJIFZML Belt Store 176 | zkuku1122 Store
177 | zkuku112211221122 Store 178 | zkuku11222211 Store
179 | 2222123456 Store 180 | Nice-day outdoor Store
181 | Acgicea Global Store 182 | Batmo Good Quality Store
183 | CTCT Store 184 | Designer Cases Store
185 | IMusenge Store 186 | Outstandingofficial Store
187 | Shop4718003 Store 188 | Shop5593191 Store
189 | Shop910963049 Store 190 | Shop911218003 Store
191 | Shop911413661 Store 192 | Shop911424048 Store
193 | XINYIDA Store 194 | Kiyolyl
195 | nac7052 196 | tianhonS
197 | Barbara Astrid 198 | chentao0000
199 | DISMISSED 200 | DISMISSED
201 | DISMISSED 202 | DISMISSED
203 | DISMISSED 204 | DISMISSED
205 | DISMISSED
No. | Online Marketplaces No. | Online Marketplaces
1 | aliexpress.com/store/911677006 2 | aliexpress.com/store/5831428
3 | aliexpress.com/store/900237523 4 | aliexpress.com/store/510947
5 | DISMISSED 6 | DISMISSED
7 | aliexpress.com/store/5837094 8 | aliexpress.com/store/911253352
9 | aliexpress.com/store/911291160 10 | aliexpress.com/store/911415216
11 | aliexpress.com/store/910562247 12 | aliexpress.com/store/910732089
13 | aliexpress.com/store/910962023 14 | aliexpress.com/store/911066222
15 | aliexpress.com/store/911252155 16 | aliexpress.com/store/911382235
17 | aliexpress.com/store/911457076 18 | aliexpress.com/store/911509235

 

 

 

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No. | Online Marketplaces No. | Online Marketplaces

19 | aliexpress.com/store/911599524 20 | aliexpress.com/store/911609350
21 | DISMISSED 22 | aliexpress.com/store/911058184
23 | aliexpress.com/store/911606811 24 | aliexpress.com/store/911870205
25 | aliexpress.com/store/911716025 26 | aliexpress.com/store/911835508
27 | aliexpress.com/store/911795380 28 | aliexpress.com/store/911754170
29 | aliexpress.cam/store/911805403 30 } aliexpress.com/store/911767305
31 | aliexpress.com/store/911757537 32 | aliexpress.com/store/911779512
33 | aliexpress.com/store/911796177 34 | aliexpress.com/store/911745081
35 | aliexpress.com/store/911653289 36 | aliexpress.com/store/911600698
37 | aliexpress.com/store/910458060 38 | aliexpress.com/store/911733147
39 | aliexpress.com/store/911784661 40 | aliexpress.com/store/911755282
41 | aliexpress.com/store/911784964 42 | aliexpress.com/store/911767008
43 | aliexpress.com/store/5794904 44 | aliexpress.com/store/911792229
45 | aliexpress.com/store/911765527 46 | aliexpress.com/store/910564294
47 | aliexpress.com/store/911687022 48 | aliexpress.com/store/911745634
49 | aliexpress.com/store/5376252 50 | aliexpress.com/store/911769288
51 | aliexpress.com/store/911777394 52 | aliexpress.com/store/911609761
53 | aliexpress.com/store/911828359 54 | aliexpress.com/store/911750290
55 | aliexpress.com/store/911660095 56 | aliexpress.com/store/911718029
57 | aliexpress.com/store/910367412 58 | aliexpress.com/store/911750184
59 | aliexpress.com/store/5788265 60 | DISMISSED

61 | aliexpress.com/store/911811371 62 | aliexpress.com/store/911748811
63 | aliexpress.com/store/911673023 64 | aliexpress.com/store/911666277
65 | aliexpress.com/store/911092027 66 | aliexpress.com/store/911775096
67 | aliexpress.com/store/911798060 68 | aliexpress.com/store/911659135
69 | aliexpress.com/store/911775878 70 | aliexpress.com/store/911773638
71 | aliexpress.com/store/911600715 72 | aliexpress.com/store/911835351
73 | aliexpress.com/store/S5035103 74 | aliexpress.com/store/911714518
75 | aliexpress.com/store/911710432 76 | aliexpress.com/store/900250283
77 | aliexpress.com/store/911794414 78 | aliexpress.com/store/911668041
79 | aliexpress.com/store/911838111 80 | aliexpress.com/store/911930012
81 | aliexpress.com/store/911777220 82 | aliexpress.com/store/911783910
83 | aliexpress.com/store/911599852 84 | aliexpress.com/store/911615823
85 | aliexpress.com/store/S741013 86 | aliexpress.com/store/911665302
87 | aliexpress.com/store/911718003 88 | aliexpress.com/store/911734072
89 | aliexpress.com/store/911784645 90 | aliexpress.com/store/911777924
91 | aliexpress.com/store/910448049 92 | aliexpress.com/store/911808298
93 | aliexpress.com/store/911797755 94 | aliexpress.com/store/911752698
95 | aliexpress.com/store/911944034 96 | aliexpress.com/store/911897045
97 | aliexpress.com/store/911258004 98 | aliexpress.com/store/910319126

 

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No. | Online Marketplaces No. {| Online Marketplaces

99 | aliexpress.com/store/5015155 100 | aliexpress.com/store/5031152
101 | aliexpress.com/store/5278036 102 | aliexpress.com/store/5890596
103 | aliexpress.com/store/732274 104 | aliexpress.com/store/900250101
105 | aliexpress.com/store/911037118 106 | aliexpress.com/store/911185216
107 | aliexpress.com/store/911331025 108 | aliexpress.com/store/911337019
109 | aliexpress.com/store/911338149 110 | aliexpress.com/store/911340097
111 | aliexpress.com/store/911389143 112 | aliexpress.com/store/911398046
113 | aliexpress.com/store/911411036 114 | aliexpress.com/store/911411338
115 | aliexpress.com/store/911411472 116 | aliexpress.com/store/911420412
117 | aliexpress.com/store/911424451 118 | aliexpress.com/store/911426373
119 | aliexpress.com/store/911552080 120 | aliexpress.com/store/911562164
121 | aliexpress.com/store/911566234 122 | aliexpress.com/store/911566366
123 | aliexpress.com/store/911572289 124 | aliexpress.com/store/911575278
125 | aliexpress.com/store/911599337 126 | aliexpress.com/store/911602329
127 | aliexpress.com/store/911604057 128 | aliexpress.com/store/911604266
129 | aliexpress.com/store/911604333 130 | aliexpress.com/store/911606560
131 | aliexpress.com/store/911609049 132 | aliexpress.com/store/911614472
133 | aliexpress.com/store/911661407 134 | aliexpress.com/store/911783944
135 | aliexpress.com/store/911666384 136 | aliexpress.com/store/911715280
137 | aliexpress.com/store/911837415 138 | aliexpress.com/store/911750093
139 | aliexpress.com/store/911710331 140 | aliexpress.com/store/1798078
141 | aliexpress.com/store/911664149 142 | aliexpress.com/store/911719060
143 | aliexpress.com/store/910717091 144 | DISMISSED
145 | aliexpress.com/store/911727287 146 | aliexpress.com/store/911609664
147 | aliexpress.com/store/911714518 148 | aliexpress.com/store/911276026
149 | aliexpress.com/store/911295095 150 | aliexpress.com/store/911902019
151 | aliexpress.com/store/911754108 152 | aliexpress.com/store/911796324
153 | aliexpress.com/store/911831027 154 | aliexpress.com/store/911217176
155 | aliexpress.com/store/911783566 156 | aliexpress.com/store/4978039
157 | aliexpress.com/store/911798177 158 | aliexpress.com/store/911877513
159 | aliexpress.com/store/911036018 160 | aliexpress.com/store/911778094
161 | aliexpress.com/store/911799334 162 | aliexpress.com/store/911701068
163 | aliexpress.com/store/911665201 164 | aliexpress.com/store/911774864
165 | aliexpress.com/store/911837206 166 | aliexpress.com/store/911556260
167 | aliexpress.com/store/911840255 168 | aliexpress.com/store/911718419
169 | aliexpress.com/store/911876478 170 | aliexpress.com/store/911859038
171 | aliexpress.com/store/911793533 172 | aliexpress.com/store/5746253
173 | aliexpress.com/store/3895056 174 | aliexpress.com/store/4311014
175 | aliexpress.com/store/3096050 176 | aliexpress.com/store/910635007
177 | aliexpress.com/store/116702 178 | aliexpress.com/store/911295223

 

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No. | Online Marketplaces No. | Online Marketplaces
179 | aliexpress.com/store/4718003 180 | aliexpress.com/store/5593191
181 | aliexpress.com/store/910963049 182 | aliexpress.com/store/911218003
183 | aliexpress.com/store/911413661 184 | aliexpress.com/store/911424048
185 | aliexpress.com/store/637195 186 | amazon.com/sp?seller=A3UZQNVHRSKK
S
187 | ebay.com/usr/nac7052 188 | ebay.com/usr/tianhonS
189 | wish.com/merchant/S6e940ffc8dcde583 190 | wish.com/merchant/5f4f8e196a9e390e
d9cc9c7 3bcf8a7d
191 | DISMISSED 192 | DISMISSED
193 | DISMISSED 194 | DISMISSED
195 | DISMISSED 196 | DISMISSED
197 | DISMISSED
No. | Domain Names No. | Domain Names
1 | calvinkleinoutletonline.com 2 | tommyhilfigeraustralia.com
3 | tommyhilfigerindia.com 4 | tommyhilfigersingapore.com
5 | tommyhilfigermalaysia.com 6 | tommyhilfigermexico.com
7 | tommyhilfigerromania.com 8 | tommyhilfigerireland.com

 

 

 

 

 

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